      CASE 0:24-cv-03754-LMP-DLM       Doc. 32    Filed 11/16/24   Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA

CHRISTOPHER KOHLS and MARY
FRANSON,
                       Plaintiffs,             Court File No. 0:24-cv-3754- LMP-DLM

                                                       NOTICE OF HEARING
                     v.



KEITH ELLISON, in his official capacity
as Attorney General of Minnesota, and
CHAD LARSON, in his official capacity
as County Attorney of Douglas County,
                             Defendants.



TO: Defendants above-named, through counsel, via ECF.

      PLEASE TAKE NOTICE that as soon as Plaintiff may be heard, Plaintiff will

bring on for hearing their Daubert Motion to Exclude Expert Declarations under

F.R.E. 702 at the United States District Court, United States District Court, 316 N.

Robert Street, St. Paul, MN 55101 in Courtroom 3C.
     CASE 0:24-cv-03754-LMP-DLM    Doc. 32     Filed 11/16/24   Page 2 of 2




Dated: November 15, 2024   Respectfully submitted,

                            /s/ M. Frank Bednarz
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                            Attorneys for Plaintiffs Christopher Kohls
                            and Mary Franson




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